Case 2:23-cv-00587-RFB-BNW Document8 Filed 05/22/23

Page 1 of 1

Show of Cause Letter

To: Your Honor

From: Miller, Duhjuan-Lamar(Attorney-in-fact)

BY:

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COUNSELIPARTIES OF RECORD

MAY 22 2023

CLERK US DISTRICT COURT
DISTRICT OF NEVADA

DEPUTY

Your Honor,

In the case Miller v. Cox Communications 2:2023cv00587 you will see documents showing cause
of Breach of Contract under fiduciary duties. | have accepted all Rights, titles, and interest for DUHJUAN
LAMAR MILLER/Principal. As Endorser | have also Endorsed all bills, filed proper tax documents, and sent

them back with a Letter of Instruction. By 0fG rontang, Noe
Cre’ Roser te \yy
Thank You, Bese !

Miller, Duhjuan-Lamar(Attorney-In-Fact)

